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 1                                   UNITED STATES DISTRICT COURT

 2                              EASTERN DISTRICT OF CALIFORNIA

 3                                      SACRAMENTO DIVISION

 4                                                     Case No. 2:24-cv-02527-JAM-CKD
        CHRISTOPHER KOHLS,
 5                                                     STATEMENT OF UNDISPUTED FACTS
                        Plaintiff,
                                                       IN SUPPORT OF PLAINTIFFS’ MOTIONS
 6                                                     FOR SUMMARY JUDGMENT AGAINST
              v.
                                                       AB 2839 AND AB 2655
 7
        ROBERT A. BONTA, et al.,
 8
                         Defendants.
 9

10      THE BABYLON BEE, LLC, et al.,

11                      Plaintiffs,

12            v.

13      ROBERT A. BONTA, et al.,

14                       Defendants.

15      RUMBLE, INC., et al.,
16                      Plaintiffs,
17            v.
18      ROBERT A. BONTA, et al.,
19                       Defendants.
20

21      X CORP.,
22                      Plaintiff,
23            v.
24      ROBERT A. BONTA, et al.,
25                       Defendants.
26

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        PLAINTIFFS’ STATEMENT OF
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 1         PLAINTIFFS’ STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF THEIR
                          MOTIONS FOR SUMMARY JUDGMENT
 2
                  Pursuant to Local Rule 260(a), Plaintiffs X Corp., Rumble Inc. and Rumble Canada Inc.
 3
       (collectively, “Rumble”), Christopher Kohls, The Babylon Bee (“The Bee”), and Kelly Chang
 4
       Rickert submit this statement of undisputed material facts in support of their Motions for Summary
 5
       Judgment Against AB 2839 and AB 2655.
 6
             I.        Satire has a rich and important history in the United States.
 7
                  1.      Satire is a distinct mode of expression, historically rooted in literature but extending
 8
       across various media, including theater, visual art, film, television, and digital platforms. Satire
 9
       has a history that stretches back to Ancient Rome. Declaration of Seth Dillon In Support of
10
       Plaintiffs’ Motions for Summary Judgment Against AB 2839 and AB 2655 (“Dillon Decl.”), dated
11
       March 7, 2025, ¶ 9.
12
                  2.      Satire focuses on topical content or individuals, speaks to particular moments, and
13
       generally “deals with actual cases, mentions real people by name or describes them unmistakably
14
       (and often unflatteringly).” Id. ¶ 10.
15
                  3.      Parody is a form of satire that takes original content, imitates it, and then makes the
16
       original look absurd through various devices. Id. ¶ 11.
17
                  4.      The end of satire is often to criticize or mock an idea, event, or person for the purpose
18
       of correction and improvement. Sometimes it merely aims to provoke laughter. Satire uses humor,
19
       irony, and exaggeration to expose and critique societal flaws, hypocrisy, and corruption. Id. ¶ 12.
20
                  5.      Figures such as Horace, Plato (Menexenus), Miguel de Cervantes (Don Quixote),
21
       Voltaire (Candide), Jonathan Swift (Gulliver’s Travels), and George Orwell (Animal Farm) have
22
       used satire to provide social commentary to expose underlying truths. Id. ¶ 13.
23
                  6.      Satirists “intend[ ] to shock” their audience “[b]y compelling them to look at a sight
24
       they had missed or shunned” and help their audience to “realize the truth, and then move[ ] … to
25
       feelings of protest.” Id. ¶ 14.
26
                  7.      In short, satirists “tell the truth with a smile, so that [they] will not repel [people] but
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       cure them of th[eir] ignorance which is their worst fault.” Id. ¶ 15.
28

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 1             8.       Through this technique, satirists intend to prompt thought, internal reflection, and

 2     public dialogue about the subject of the satire. Id. ¶ 17.

 3             9.       To do this effectively, satire and parody leverage the expectations that are created

 4     in an audience when they see something in a particular form and juxtapose that realism with the

 5     satirical form. Id. ¶ 18.

 6             10.      Satire and parody generate their most rhetorical power by mimicking a particular

 7     form, event, idea, or person and then inserting something absurd to create dissonance that exposes

 8     fault or error. Id. ¶ 19.

 9             11.      In these ways, satire and parody make audiences do a double-take by making them

10     believe that they are seeing a serious rendering of an original and then allowing them to laugh at

11     their own gullibility when they realize that they are really viewing satire or parody. Id. ¶ 16.

12             12.      This power comes from satire and parody’s proximity to the original. Id. ¶ 20.

13             13.      Because of their effectiveness and appeal, satire and parody have been used

14     throughout American history to express matters of current interest—especially in matters of politics

15     and politicians. Id. ¶ 21.

16          II.      The Bee is a satirical news source that posts satire and parody related to

17                   elections.

18             14.      The Bee fits well within this longstanding tradition of using satire and parody to

19     speak the truth, expose bad ideas, and encourage societal change. Id. ¶ 22.

20             15.      The Bee’s tagline is “Fake news you can trust.” Id. ¶ 23.

21             16.      The Bee runs and controls a website, babylonbee.com, that exposes absurdity,

22     mocks foolishness, and highlights hypocrisy in faith, politics, and culture through satire, humor,

23     and parody. Id. ¶ 5.

24             17.      Millions of people view The Bee’s website each month, and California is The Bee’s

25     third largest state in terms of audience reach. Id. ¶ 24.

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 1             18.    The Bee has accounts on online platforms like Rumble, X, Facebook, Instagram,

 2     and YouTube, where it republishes its articles, posts videos, and republishes third-party content.

 3     Id. ¶ 25.

 4             19.    The Bee currently has 4.7 million followers on X, 2 million followers on Instagram,

 5     over 1.5 million followers on Facebook, over 1.5 million subscribers on YouTube, and over

 6     475,000 followers on Rumble. Id. ¶ 26.

 7             20.    The Bee’s articles commonly generate millions of “impressions,” and tens of

 8     thousands of “likes” and “reposts” on online platforms. Id. ¶¶ 27–28.

 9             21.    As one example, The Bee posted an article entitled “The Babylon Bee has obtained

10     this exclusive, official, 100% real Gavin Newsom election ad” with an embedded video on X on

11     September 18, 2024. The video depicts alternating images of smiling citizens and trash-littered

12     streets, overlaid with an AI-generated version of Governor Newsom’s voice making statements that

13     the video contains his “authentically recorded” “100% real message” “without the assistance of any

14     AI whatsoever.” As of March 5, 2025, the post had accumulated over 36 million views, 140,000

15     thousand likes, and 54,000 reposts. Id. ¶¶ 29–30.

16             22.    The Bee posts between six to eight articles on its website during the workweek and

17     three to five articles during the weekends, and then republishes those articles on X, Facebook, and

18     Instagram. Id. ¶ 32.

19             23.    The Bee also publishes videos that it creates on Rumble and YouTube. Id. ¶ 33.

20             24.    The Bee regularly posts about various topics, including politics, elections,

21     politicians, the economy, California, fall traditions, government censorship, and much else. Id.

22     ¶¶ 34–36.

23             25.    Before, during, and after the 2024 election, The Bee posted articles about

24     Presidential candidates Donald Trump and Kamala Harris, Vice Presidential candidates J.D. Vance

25     and Tim Walz, President Biden, and voting in California, among other topics. Id. ¶¶ 37–38, 40–

26     41, 43–44.

27             26.    Headlines include:

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 1                   a.     Awkward: Mourners at Jimmy Carter Funeral Place Flowers on Biden,

 2           Babylon Bee, Jan. 9, 2025. Id. ¶ 44.a.

 3                   b.     Biden Honors Kamala Harris with Presidential Medal of Participation,

 4           Babylon Bee, Jan. 5, 2025. Id. 44.b.

 5                   c.     “Ok, Who Got Me the MAGA Hat?” Asks Kamala Harris as Jill Biden Stifles

 6           Laughter, Babylon Bee, Dec. 24, 2024. Id. ¶ 44.c.

 7                   d.     Adorable: Trump and Musk Debut Matching Christmas Pajamas, Babylon

 8           Bee, Dec. 20, 2024. Id. ¶ 44.d.

 9                   e.     Newsom Says with Another $25 Billion He Could Double Homelessness by

10           2030, Babylon Bee, Dec. 18, 2024. Id. ¶ 44.e.

11                   f.     Trump Projected to Win in 50-State Landslide After Appearing in Squirrel

12           Costume, Babylon Bee, Nov. 2, 2024. Id. ¶ 38.a.

13                   g.     New “Kamalexa” Edition of Amazon Echo Will Just Ramble for 10 Minutes

14           Without Ever Answering Your Questions, Babylon Bee, Oct. 31, 2024. Id. ¶ 38.b.

15                   h.     Kids at Tim Walz’s Door Disappointed as He Fills Candy Bags with

16           Tampons, Babylon Bee, Oct. 31, 2024. Id. ¶ 38.c.

17                   i.     California Man Arrested for Showing I.D. to Vote, Babylon Bee, Oct. 29,

18           2024. Id. ¶ 38.d.

19                   j.     “We Can’t Afford Another Four Years Of This!” Shouts Running Mate Of

20           Candidate Who Has Been Leading Country for Four Years, Babylon Bee, Sept. 21, 2024.

21           Id. ¶ 44.f.

22                   k.     Furious Gavin Newsom Bans A.I. Images After Getting Tricked Into

23           Thinking Pic of Trump As A Mer-Man Was Real, Babylon Bee, Sept. 18, 2024. Id. ¶ 44.g.

24                   l.     Here Are 9 AI-generated Deep Fakes Of Gavin Newsom That Are Illegal To

25           Share In California, Babylon Bee, Sept. 18, 2024. Id. ¶ 44.h.

26                   m.     BREAKING: The Babylon Bee has obtained this exclusive, official, 100%

27           real Gavin Newsom election ad, Babylon Bee, Sept. 17, 2024. Id. ¶ 44.i; id. Ex. A at 16.

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 1                     n.   Democrats Concerned California Wildfires May Burn Up Their Stock of

 2           Prefilled Kamala Harris Ballots, Babylon Bee, Sept. 12, 2024. Id. ¶ 38.e.

 3                     o.   In Brief Moment Of Lucidity, Biden Endorses Trump, Babylon Bee, Sept. 11,

 4           2024. Id. ¶ 38.f.

 5                     p.   Trump Team Reveals Debate Strategy: Trump Will Cede All His Time To

 6           Kamala And Then Quietly Play With His Tamagotchi, Babylon Bee, Sept. 10, 2024. Id.

 7           ¶ 38.g.

 8                     q.   Kamala Responds to Criticism Over Lack of Policies by Posting Another

 9           Truck Stop Junk Food Video, Babylon Bee, Sept. 6, 2024. Id. ¶ 38.h.

10                     r.   Trump Prepares For Debate Against Kamala By Going To Bar And Arguing

11           With Drunks, Babylon Bee, Sept. 5, 2024. Id. ¶ 38.i.

12                     s.   Trump Adds A Kennedy In Hopes He Will Draw All The Sniper Fire,

13           Babylon Bee, Aug. 23, 2024. Id. ¶ 38.j.

14                     t.   Kamala Harris Unveils New Economic Platform “We Must Seize the Means

15           of Production and Execute the Bourgeoisie,” Babylon Bee, Aug. 18, 2024. Id. ¶ 38.k.

16                     u.   California Passes Law Requiring People Fail A U.S. Civics Exam To Be

17           Eligible To Vote, Babylon Bee, Aug. 12, 2024. Id. ¶ 38.l.

18                     v.   Tim Walz Asks Guy Guarding Tomb Of The Unknown Soldier Why He

19           Doesn’t Just Desert Him, Babylon Bee, Aug. 10, 2024. Id. ¶ 38.m.

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 1                   w.    Hillary Clinton Meets With Kamala To Help Her Improve Her Black Accent,

 2           Babylon Bee, Aug. 1, 2024, which features the below image. Id. ¶ 41.b.

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                     x.    New White House Doctor Sadly Informs Biden Only Cure For COVID Is
12
             Euthanasia, Babylon Bee, July 18, 2024. Id. ¶ 41.a.
13
                     y.    Vance Dons Helmet And Body Armor In Preparation To Run With Trump,
14
             Babylon Bee, July 15, 2024. Id. ¶ 38.n.
15
                     z.    Newsom Issues Ban on Legal-Citizen Voting, Babylon Bee, May 23, 2024.
16
             Id. ¶ 38.o.
17
                     aa.   Biden Unveils Official Campaign Slogan “Death To America,” Babylon
18
             Bee, Apr. 17, 2024, which features the below image. Id. ¶ 41.d.
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 1                     bb.     Democrat Governors Promise They Will Do Everything In Their Power To

 2             Make Elections Appear Legitimate, Babylon Bee, Apr. 12, 2024. Id. ¶ 38.p.

 3                     cc.     In Victory Speech, Biden Assures Americans Elections Were “Mostly

 4             Legitimate,” Babylon Bee, Nov. 9, 2020. Id. ¶ 41.a.

 5             27.     The Bee intentionally digitally created or modified the images in the articles

 6     referenced in subparagraphs a–d, f–i, k–m, p–t, v–y, and aa of the above paragraph. Id. ¶¶ 39, 42,

 7     45.

 8             28.     The Bee’s posts identified in paragraph 26 above that have been posted have not

 9     been removed or labeled by Rumble, X, Instagram, Facebook, or YouTube. Id. ¶ 46.

10             29.     For future elections in California, The Bee intends to continue to create and post

11     content on its own website, Rumble, X, Facebook, Instagram, and YouTube, that is materially

12     similar to the content referenced in paragraph 26, meaning:

13                     a.      The Bee intends to create and post materially similar digitally created or

14             modified content that is satire or parody, i.e., content that is not literally true in all respects.

15             Id. ¶ 47.

16                     b.      The Bee intends to post materially similar digitally created or modified

17             content about topics covered under AB 2839, including politicians, presidential and vice

18             presidential candidates for office who appear on the ballot in California, other candidates

19             who appear on the ballot in California, elected officials saying or doing something in

20             connection with an election in California, and ballots, voting machines, and voting sites

21             related to an election in California. Id. ¶ 48.

22             30.     To date, over one hundred of The Bee’s satirical headlines have become, or closely

23     foreshadowed, actual news stories and headlines. Id. ¶ 54.

24             31.     Some of The Bee’s satirical articles have been mistaken for real news articles. Id.

25     ¶ 56.

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 1             32.    For example, Donald Trump once presumed a satirical article written by The Bee

 2     was a real news article and retweeted it. The article was entitled, “Twitter Shuts Down Entire

 3     Network to Slow Spread Of Negative Biden News.” Id. ¶ 57.

 4             33.    Fact-checking sites have reviewed The Bee’s satirical posts for factual accuracy.

 5     This includes Snopes, a website that fact checks and reports on alleged misinformation. It has fact-

 6     checked dozens of satirical articles posted by The Bee, including articles posted as recently as

 7     August 2024. Id. ¶¶ 58–62.

 8             34.    For example, The Bee posted three articles: “Ocasio-Cortez Appears on ‘Price Is

 9     Right,’ Guesses Everything is Free”; “CNN Purchases Industrial-Sized Washing Machine To Spin

10     News Before Publication”; and “Ninth Circuit Court Overturns Death of Ruth Bader Ginsburg.”

11     Id. ¶ 63.

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 1             35.     Snopes and the newspaper USA Today initially reviewed these articles for accuracy,

 2     rated them as “false,” and even suggested they were intentionally misleading. Id. ¶ 64.

 3             36.     Later, Snopes and USA Today changed course and confirmed that the articles were

 4     satire. Id. ¶ 65.

 5             37.     USA Today concluded that the “article about the 9th Circuit ‘overturning’ Supreme

 6     Court Justice Ruth Bader Ginsburg’s death has no basis in fact,” after consulting fifteen different

 7     sources. Id. ¶ 66.

 8             38.     Fact checkers have also checked The Bee’s articles related to elections. For

 9     example, in March 2024, Reuters fact checked The Bee’s February 29, 2024 article titled “Ballot

10     Drop Boxes Installed Along Border Wall.” The article features the below digitally altered image.

11     Id. ¶ 67.

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20             39.     Reuters concluded that “no evidence” existed “that ballot drop boxes have been
21     installed along the U.S. border with Mexico.” Id. ¶ 68.
22             40.     Others have argued that The Bee’s satirical content is still misinformation. Id. ¶ 69.
23             41.     One critic maintained that “even if the Babylon Bee’s satire itself should not be
24     considered misinformation, its satire draws on and reinforces actual misinformation and
25     conspiracy.” Id. ¶ 70.
26             42.     One article accused The Bee and other satirical sites of “Helping [to] spread
27     misinformation on social media.” Id. ¶ 71.
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 1            43.     One reporter accused The Bee of being a “far-right misinformation site.” Id. ¶ 72.

 2            44.     Another reporter called The Bee “dangerous.” Id. ¶ 73.

 3            45.     Facebook, Instagram, YouTube, Twitter, and Bluesky have removed some of The

 4     Bee’s posts for violating the platforms’ content guidelines related to inciting violence,

 5     misinformation, and hateful conduct. Id. ¶¶ 75, 77–78, 86.

 6            46.     During U.S. Supreme Court Justice Barrett’s confirmation hearing, Facebook

 7     determined that The Bee “incit[ed] violence” by posting a Monty Python-inspired satire piece

 8     entitled, “Senator Hirono Demands ACB Be Weighed Against a Duck to See If She Is a Witch.”

 9     When challenged, Facebook refused to change its determination. Id. ¶ 75.

10            47.     Instagram determined that The Bee’s CEO violated Instagram’s community

11     guidelines against “harmful false information” and “hate speech or symbols” for sharing a Slate

12     article entitled, “It’s About Time for Us to Stop Wearing Masks Outside,” along with the comment,

13     “Sane people never did this.” Id. ¶ 76.

14            48.     YouTube flagged The Bee as a “violent criminal organization[]” and removed its

15     video titled “If the LEAKED Nashville Shooter Manifesto is legit, what does it say about censorship

16     in the US?”     The Bee appealed the characterization of its post, but YouTube held to its

17     determination that the video violated its violent criminal organization policy. Id. ¶ 77.

18            49.     Twitter also suspended The Bee’s account for “hateful conduct” under its content-

19     moderation policies after it named U.S. Assistant Secretary for Health Dr. Rachel Levine the site’s

20     “Man of the Year.” Twitter refused to reinstate The Bee unless it agreed to delete the tweet. The

21     Bee refused to do so on principle, and Twitter did not reinstate The Bee’s account. Id. ¶¶ 78–80.

22            50.     The Bee’s account on Twitter (now X) was not restored until after Elon Musk

23     purchased Twitter. X has not suspended, removed, or taken any adverse action against The Bee’s

24     X account since Musk purchased the platform. Id. ¶¶ 83–84.

25            51.     The Bee’s content does not violate X’s current content-moderation policies, as those

26     policies have been amended following Elon Musk’s acquisition of Twitter. Id. ¶ 85.

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 1            52.      The Bee has also had content removed on social media platform Bluesky. In

 2     November 2024, The Bee posted its “Man of the Year” article to Bluesky. Bluesky blocked the

 3     post and labeled it “Intolerance.” To see the post, Bluesky users had to click through the

 4     “Intolerance” label. The Bee posted the article four times. Each time, Bluesky labeled the post as

 5     “Intolerance.” Id. ¶ 86.

 6         III.     Christopher Kohls’s parody catalyzed the passage of AB 2839 and AB 2655.

 7            53.      Christopher Kohls creates humorous online content commenting on and satirizing

 8     political figures. Verified Complaint for Declaratory and Injunctive Relief, Kohls v. Bonta, No.

 9     2:24-cv-02527-JAM-CDK (E.D. Cal. Sept. 17, 2024), ECF 1 (“Kohls V. Compl.”) ¶ 4.

10            54.      Kohls created and operates the “@MrReaganUSA” account on X where he has over

11     125,000 followers, the “MrReagan” account on Rumble where he has over 10,000 followers, and

12     the “Mr Reagan” account on YouTube where he has about 386,000 subscribers. He uses these

13     accounts to post political satire videos created in part with AI-generated voiceovers. His content is

14     viewed hundreds of thousands of times, and Kohls is paid by those online platforms for user

15     engagement with his videos. Id. ¶¶ 17, 106; Declaration of Christopher Kohls in Support of

16     Plaintiffs’ Motion for Summary Judgment (“Kohls Decl.”), dated March 5, 2025, ¶ 6.

17            55.      Kohls, who is ideologically opposed to Kamala Harris’s political agenda, created

18     videos to comment about and criticize Kamala Harris’s candidacy in humorous fashion. Kohls V.

19     Compl. ¶¶ 6–7, 15; Kohls Decl. ¶¶ 10–12.

20            56.      On July 26, 2024, Kohls posted his first Kamala Harris-inspired AI-generated video,

21     entitled “Kamala Harris Campaign Ad PARODY” (the “Harris Parody Video”), to X, Rumble, and

22     YouTube. It went viral, drawing attention from Elon Musk. Kurtzberg Decl. Ex. 11 (Mr Reagan,

23     Kamala Harris Ad PARODY, YouTube (July 26, 2024)); Kohls V. Compl. ¶ 8.

24            57.      The Harris Parody Video features AI-generated cuts of a voice sounding like Vice

25     President Harris narrating why she should be President. “Harris’s” speech in the video reads as

26     follows:

27            I, Kamala Harris, am your Democrat candidate for president because Joe Biden
              finally exposed his senility at the debate. Thanks Joe. I was selected because I am
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 1            the ultimate diversity hire. I’m both a woman and a person of color. So if you
              criticize anything I say, you’re both sexist and racist.
 2
              I may not know the first thing about running the country, but remember, that’s a
 3            good thing if you’re a deep state puppet. I had four years under the tutelage of the
 4            ultimate deep state puppet; a wonderful mentor, Joe Biden. Joe taught me rule
              number one: carefully hide your total incompetence.
 5
              I take insignificant things and I discuss them as if they’re significant. And I believe
 6            that exploring the significance of the insignificant is in itself significant.
 7
              The video then features video and audio from a real Harris speech, in which Harris says,
 8
       “Talking about the significance of the passage of time, right? The significance of the passage of
 9
       time. So when you think about it, there is great significance to the passage of time,” cutting the
10
       real video with a “swish” sound effect to conclude: “and there is such great significance to the
11
       passage of time.” The narration by “Harris” then continues:
12
              Another trick is trying to sound black. I pretend to celebrate Kwanzaa, and in my
13            speeches, I always do my best Barack Obama impression.
14
              The video again excerpts a real Harris speech, in which she says: “So hear me when I say,
15
       I know Donald Trump’s type.” The AI-generated narration continues:
16
              And okay, look, maybe my work addressing the root causes of the border crisis
17            were catastrophic, but my knowledge of international politics is truly shocking.
18            Again, the video illustrates the fake voiceover with a real speech, where Kamala Harris said:
19     “The United States [“swish” cut] shares a very important relationship, which is an alliance with the
20     Republic of North Korea. [“swish” cut] It is an alliance that is strong and enduring.” The “Harris”
21     narration concludes:
22            And just remember, when voting this November, it is important to see what can be
              unburdened by what has been. And by what has been, I mean Joe Biden.
23
              You think the country went to [beeped out expletive] over the past four years? You
24            ain’t seen nothing yet. [Cackles].
25
       Kohls V. Compl. ¶ 33.
26
              58.     Kohls has produced at least 7 videos that are colorably actionable under AB 2839:
27
       The Harris Parody Video; “Kamala Harris Ad PARODY 2”; “Kamala Harris Ad PARODY 3”;
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 1     “Kamala Harris Ad PARODY 4”; “Kamala Harris Ad PARODY 5”; “Kamala Parody Ad 6”;

 2     “Friends of Diddy”; and “Kamala/Tim Walz Phone Call PARODY.”                 Each video uses AI

 3     technology to simulate the voice of Kamala Harris and/or Tim Walz, who were candidates for the

 4     2024 federal election in California. While Kohls uploaded each video with “parody” in the title,

 5     none of the videos includes the disclaimer required by AB 2839. Kohls Decl. ¶ 12.

 6             59.    Kohls also posted other AI-generated videos, including one titled “Elizabeth Warren

 7     Honest DNC Speech PARODY” in which he used the same technology to mimic the voice of

 8     Elizabeth Warren to read commentary that he had written responding to Warren’s own speech

 9     endorsing Kamala Harris at the August 2024 Democratic National Convention and one of Governor

10     Newsom defending California’s attempts to regulate satirical speech. Id. ¶ 13.

11             60.    Kohls also published a parody campaign ad on YouTube about Joe Biden, titled “Joe

12     Biden – Honest Ad,” containing actual clips of Joe Biden stuttering and mispronouncing words and

13     sentences. Id. ¶ 9.

14             61.    All of Kohls’s videos are available on X and YouTube. Many of them are available

15     on Rumble. The videos continue to be available to California residents and viewers of these videos

16     include California residents, like Governor Newsom. Id. ¶ 92.

17             62.    Kohls is aware that numerous persons, including California Governor Newsom and

18     Rob Weissman, co-president of the advocacy group Public Citizen, claim that his Harris video

19     would deceive reasonable viewers into thinking that Harris actually said the words that he presents

20     her as saying. Id. ¶ 17.

21             63.    Multiple outlets issued “fact checks” regarding Kohl’s first Harris Parody Video.

22     Id. ¶ 18.

23             64.    For future elections in California, Kohls intends to continue making and posting

24     videos of political figures and candidates using this same AI-generative technology during future

25     election seasons. Kohls V. Complaint ¶ 92; Kohls Decl. ¶ 15.

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 1         IV.       Rickert actively engages in political expression.

 2             65.      Rickert immigrated to the United States from Taiwan. Declaration of Kelly Chang

 3     Rickert in Support of Plaintiffs’ Motion for Summary Judgment (“Rickert Decl.”), dated March 6,

 4     2025, ¶ 5.

 5             66.      She is an attorney who practices law in California. Id. ¶ 3.

 6             67.      Rickert has served as a legal expert for media outlets such as CBS News, MTV,

 7     People Magazine, US Weekly, and others. Id. ¶ 4.

 8             68.      Rickert has owned and operated her own law firm since 2005—the Law and

 9     Mediation Offices of Kelly Chang (the “law firm”). Id. ¶ 3.

10             69.      Rickert’s law firm has its own blog that she alone operates and controls. Id. ¶ 7.

11             70.      Rickert has final editorial control over the content posted on the law firm’s blog and

12     therefore considers it to be her personal blog. Id. ¶ 8.

13             71.      No one has the authority to post on this blog except for her and no one has posted

14     on this blog except for her. Id. ¶ 9.

15             72.      No third parties can post comments to the blog because Rickert disabled the

16     comment section and has no present intention of re-engaging the comment feature. Id. ¶ 10.

17             73.      Rickert curates the content on the blog by posting blogs with the types of expression

18     she desires to communicate and to reflect the law firm’s values. Id. ¶ 11.

19             74.      Over the last year, Rickert has written, created, and posted over seventy posts for

20     the blog. Id. ¶ 12.

21             75.      Rickert has written posts about abortion, gender ideology, Gavin Newsom,

22     California bills, parental rights, elections, politicians, and other topics. Id. ¶ 13.

23             76.      Several hundred people subscribe to her blog, including subscribers in California,

24     and countless more view it on her website, including other California residents. Id. ¶ 14.

25             77.      Rickert also has personal accounts on online platforms, including X, Facebook,

26     Instagram, and TikTok. Id. ¶ 15.

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 1              78.      Rickert’s X and Instagram accounts are public; she currently has over 1,600

 2     followers on X, over 25,000 followers on Instagram, and nearly 400,000 followers on TikTok,

 3     including many followers in California. Id. ¶ 16.1

 4              79.      Rickert’s Facebook account is private, but she has 7,400 followers on Facebook. Id.

 5     ¶ 17.

 6              80.      Rickert regularly posts on her X, Instagram, and Facebook accounts on issues related

 7     to politics, elections, and culture. Id. ¶ 18.

 8              81.      Before September 17, 2024, Rickert posted or reposted about quotes she attributed

 9     to Kamala Harris, Tim Walz, politics, society, and cultural and moral issues. Id. ¶¶ 19–20.

10              82.      After September 17, 2024, Rickert desired to post or repost additional content on

11     her blog and her online accounts, but she refrained from doing so because of AB 2839 and AB

12     2655. Id. ¶ 21.

13              83.      Rickert wanted to post the Harris Parody Video on her X account. Id. ¶ 22.

14              84.      Rickert also desired to post similar satirical videos created by Kohls. Id. ¶ 25.

15              85.      Those videos are:

16                       a.     @MrReaganUSA, Kamala Harris Ad PARODY, YouTube (July 26, 2024);

17                       b.     @MrReaganUSA, Kamala Harris Ad PARODY 2, YouTube (July 31, 2024);

18              and

19                       c.     @MrReaganUSA, Kamala Harris Ad PARODY 3, YouTube (Aug. 14,

20              2024).

21     Id. ¶ 26.

22              86.      Rickert learned about the Harris Parody Video on September 17, 2024, after viewing

23     Governor Newsom’s post on X stating that he passed a law banning the video and other videos with

24     similar content. Id. ¶ 28.

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27      President Trump, meanwhile, has over 100 million followers on his X account. Declaration of Joel Kurtzberg in
       Support of Plaintiffs’ Motions for Summary Judgment (“Kurtzberg Decl.”), dated March 7, 2025, Ex. 19
28     (@realDonaldTrump, X)).

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 1            87.     If not for AB 2839 and AB 2655, Rickert would have immediately posted the Harris

 2     Parody Video, and the other videos referenced above in paragraph 85. Id. ¶ 29.

 3            88.     As a result of AB 2839 and AB 2655, in addition to the Harris Parody Video and

 4     other similar videos, Rickert refrained from posting other content, including intentionally digitally

 5     modified videos and images of Kamala Harris asking illegal immigrants to vote, appearing in a

 6     Seinfeld episode, wearing communist attire, wearing a “Make USA Great Again” hat, and speaking

 7     to a communist gathering. She also would have but refrained from posting a digitally altered video

 8     of Governor Newsom endorsing Donald Trump. Id. ¶ 30.

 9            89.     In addition to the content identified in paragraphs 87–88, Rickert refrained from

10     posting an AI-generated image of Donald Trump in a courtroom proceeding and AI-generated

11     images of Donald Trump scuffling with and running from police. These images depicted then-

12     candidate Donald Trump doing something that he did not do. Id. ¶¶ 31–32.

13            90.     Rickert desired to caption the post containing these images as: “This is the strategy

14     to get Kamala Harris elected—political retaliation” or something materially similar. Id. ¶ 33.

15            91.     Rickert refrained from posting the content identified in paragraphs 87–89 on her

16     online accounts because of AB 2839 and AB 2655. Id. ¶ 34.

17            92.     Rickert has been subjected to past instances of censorship or threatened censorship

18     because of her online posts that were materially different than the posts identified in paragraphs

19     87–89. Id. ¶ 35.

20            93.     For example, Facebook, Instagram, and TikTok have removed content from her

21     accounts between ten and twenty times. Id. ¶ 36.

22            94.     Likewise, the State Bar of California improperly began to investigate Rickert in

23     2022 for a TikTok video that she created which commented on abortion and a then-pending

24     California bill regarding abortion. Id. ¶ 37.

25            95.     The post generated many reactions on TikTok, and several users commented about

26     how to file complaints with the State Bar of California. Id. ¶ 38.

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 1             96.     After conducting a month-long investigation, the State Bar of California closed the

 2     investigation. Id. ¶ 39.

 3             97.     But this investigation caused Rickert to rarely post on TikTok to avoid future

 4     complaints related to her bar license. Id. ¶ 40.

 5             98.     For future elections in California, Rickert intends to post materially similar content

 6     about candidates in those elections, should AB 2839 and AB 2655 be enjoined or repealed. Rickert

 7     Decl. ¶ 41.

 8             99.     For future elections in California, Rickert intends to post content on her blog, X,

 9     Facebook, or Instagram similar to the content referenced in paragraphs 87–89 related to that

10     election. That means Rickert intends to post intentionally digitally created or modified content—

11     including satire or parody—about politicians, presidential and vice presidential candidates for

12     office who appear on the ballot in California, other candidates who appear on the ballot in

13     California, elected officials saying or doing something in connection with an election in California,

14     and ballots, voting machines, and voting sites related to an election in California. Id.

15             100.    Rickert has posted and will republish satire or parody that she knows is not literally

16     true in all respects, meaning she knows at least some of the content is literally false or acts without

17     regard to the literal truth. Id. ¶ 42.

18             101.    Rickert has also posted and will republish other content that is not satire or parody

19     that she knows is not literally true, meaning she knows some of the content is false or acts without

20     regard to the literal truth. Id. ¶ 43.

21             102.    Rickert has posted and desires to post such content, including content from Kohls,

22     like that identified in paragraph 85 and materially similar content, in future elections in California

23     even though she knows it is not literally true because she believes such content helps to make

24     certain political arguments that cannot be made with the literal truth. Id. ¶ 44.

25             103.    Since the 2024 election, Rickert has posted content that would be proscribed by AB

26     2839 and 2655 if she had posted it during the applicable timeframes. For example:

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 1                    a.     On January 13, 2025, Rickert reposted on X President Trump’s post of a

 2            digitally altered video depicting a fake conversation between President Trump and former

 3            President Obama at former President Carter’s funeral. Id. ¶ 45.b.

 4                    b.     On January 9, 2025, Rickert reposted on X The Babylon Bee’s article

 5            entitled Gavin Newsom Demands Answers from Whoever’s in Charge of California, which

 6            features a digitally altered image of Governor Newsom. Id. ¶ 45.c.

 7            104.    Many people in California, including Rickert, expect Kamala Harris to run for

 8     governor in 2026. Attorney General Rob Bonta recently stated that he would not run for governor

 9     and that he would support Harris if she ran. Id. ¶ 46–47.

10          V.    AB 2655’s statutory scheme, Section 230 of the Communications Decency Act,

11                and their application to X and Rumble.

12            105.    California Assembly Bill No. 2655 (“AB 2655”) is codified in law at Sections

13     20510–20520 of the California Election Code.

14            106.    AB 2655 applies to “large online platform[s],” including “public-facing internet

15     website[s],” “web application[s],” “digital application[s],” “video sharing platform[s],”

16     “advertising network[s],” “search engine[s],” or “social media platform[s] (as defined in Section

17     22675 of the Business and Professions Code”) that “had at least 1,000,000 California users during

18     the preceding 12 months.” § 20512(h).

19            107.    Plaintiff X Corp. is a corporation organized and existing under the laws of the State

20     of Nevada, with its principal place of business in Bastrop, Texas. X Corp. Compl., Kohls v. Bonta,

21     No. 2:24-cv-02527-JAM-CDK (E.D. Cal. Nov. 14, 2024), ECF 38 (“X Corp. Compl.”) ¶ 21. X

22     Corp. owns and operates the X platform, which was formerly known as Twitter. Declaration of X

23     Corp.’s Strategy and Operations Team in Support of Plaintiffs’ Motion for Summary Judgment

24     Against AB 2655 (“X Corp. S&O Decl.”), dated March 7, 2025, ¶ 3.

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 1             108.    Plaintiff Rumble Canada Inc., together with its indirect parent company Plaintiff

 2     Rumble Inc., operates Rumble.com, a large video-sharing platform that curates and publishes a

 3     variety of content, including political commentary. Rumble Declaration in Support of Plaintiffs’

 4     Motion for Summary Judgment Against AB 2655 (“Rumble Decl.”), dated March 7, 2025, ¶ 3.

 5             109.    Rumble’s mission is to promote and protect a free and open internet. In 2013, Chris

 6     Pavlovski (now Rumble’s Chairman and CEO) founded Rumble after he noticed that YouTube had

 7     deprioritized small content creators in favor of influencers, corporations, and large brands. Rumble

 8     sought to empower small and large content creators and give them a platform to express themselves.

 9     In 2020, other online platforms began aggressively removing and banning content and users based

10     on viewpoint. But, as Rumble understands, society needs platforms like itself that support diverse

11     opinions, authentic expression, and open dialogue. Id. ¶¶ 7–10.

12             110.    Rumble operates in the vast majority of countries across the globe, but it does not

13     tolerate government-demanded censorship. For that reason, China, North Korea, and Russia have

14     banned Rumble. Rumble stopped operating in Brazil and France because of requests from the

15     government that Rumble censor content that did not violate its content policies. Id. ¶ 11.

16             111.    X and Rumble are both “large online platform[s],” as defined by AB 2655. The X

17     and Rumble platforms are both “public-facing internet website[s]” and “video sharing platform[s]”

18     that had at least 1,000,000 California users during the preceding 12 months, and X is also a “web

19     application” and “digital application” that had at least 1,000,000 California users during the

20     preceding 12 months. X Corp. S&O Decl. ¶ 3; Rumble Decl. ¶ 14.

21             112.    X is also a “social media platform,” as defined by Section 22675 of the Business

22     and Professions Code, because it is a public internet-based service or application with users in

23     California and (i) “[a] substantial function of the service or application is to connect users in order

24     to allow users to interact socially with each other within the service or application” and (ii) it allows

25     its users to (a) “[c]onstruct a public or semipublic profile for purposes of signing into and using the

26     service or application”; (b) “[p]opulate a list of other users with whom an individual shares a social

27     connection within the system”; and (c) “[c]reate or post content viewable by other users, including

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 1     but not limited to, on message boards, in chat rooms, or through a landing page or main feed that

 2     presents the user with content generated by other users.” X Corp. S&O Decl. ¶ 4.

 3               113.   Section 230 of the Communications Decency Act (“Section 230”) applies certain

 4     protections to providers of an “interactive computer service.” 47 U.S.C. § 230. X Corp. and

 5     Rumble are interactive computer service providers, as defined by Section 230, because they are the

 6     providers of the X and Rumble platforms, respectively, which are “interactive computer service[s].”

 7     See 47 U.S.C. § 230(f)(2) (“The term ‘interactive computer service’ means any information service,

 8     system, or access software provider that provides or enables computer access by multiple users to

 9     a computer server, including specifically a service or system that provides access to the Internet

10     and such systems operated or services offered by libraries or educational institutions.”); X Corp.

11     S&O Decl. ¶ 5; Rumble Decl. ¶¶ 12–14.

12         VI.      The current policies and features of covered platforms, including X Corp. and

13                  Rumble, already adequately address what they view as potentially problematic

14                  content in a less speech-restrictive way than AB 2655.

15               114.   X, Rumble, and the other large online platforms covered by AB 2655 (“covered

16     platforms”) already maintain policies and features that address what they view as problematic

17     content. X Corp. S&O Decl. ¶¶ 15–18, 21, 25–26; Rumble Decl. ¶¶ 16–19.

18               115.   X maintains policies and features to combat potentially misleading content

19     enhanced or created by artificial intelligence. See X Corp. S&O Decl. ¶¶ 15–18, 21.

20               116.   The X platform has a feature called “Community Notes” that allows users to flag

21     content that they believe needs context, which could include “materially deceptive content” covered

22     by the statute. Id. ¶ 21.

23               117.   Through Community Notes, users of the X platform may provide additional context

24     or information about content that will appear along with the content if enough of the community’s

25     “contributors,” who otherwise hold diverse viewpoints, deem the additional commentary to be

26     helpful. Id.

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 1              118.     In recognition of the fast-paced nature of social media, X has accelerated

 2     Community Notes, and now indicates “Lightning Notes” that start appearing on posts within an

 3     hour of being proposed, or within an hour of the post itself going live. Id.

 4              119.     Any user can become a Community Notes “contributor,” so long as they (i) have no

 5     recent X rule violations, (ii) joined X at least six months ago, and (iii) provide a phone number. Id.

 6              120.     X provides contributors with alias profiles that are not linked to their main X profile,

 7     and X Corp. does not write or edit these notes. Id. Any X user may comment on posted content,

 8     providing additional context in the comments section, if they deem it necessary. See id. ¶ 22.

 9              121.     In 2023 and 2024, Community Notes were utilized in connection with roughly tens

10     of thousands of posts suspected of being created or enhanced with artificial intelligence. Id. Two

11     examples of the Community Notes feature being used to identify posts on X containing false or

12     digitally altered content are as follows. First, on April 27, 2024, the X user @MyLordBebo posted

13     a screenshot of what appeared to be a real New York Post article, titled “Congress to Vote on Bill

14     That Would Criminalize Questioning the Events Surrounding 9/11.” Through the Community

15     Notes feature, a description was added to the post stating that “No such article exists from the New

16     York Post.” Second, on April 27, 2024, the X user @brookebay21 posted a photo of a group of

17     individuals carrying Confederate and Nazi flags, along with one individual carrying an Israeli flag.

18     Through the Community Notes feature, a description was added to the post stating that “This image

19     has been digitally altered to include an Israeli flag where none existed in the original[,]” and

20     directing the user to the non-augmented photo. Id. Ex. 11 (Lord Bebo (@MyLordBebo), X (Apr.

21     27, 2024, 11:21 AM)); id. Ex. 12 (Peter Symons#NHSLove (@brookebay21), X (Apr. 27, 2024,

22     9:24 AM)).

23              122.     Based on the X’s internal data, it is expected that the number of such Community

24     Notes will increase going forward. Id. ¶ 22.2

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       2
         See also X Corp. S&O Decl. Ex. 5 (Matthew R. Allen et al., Characteristics of X (Formerly Twitter) Community
26     Notes Addressing COVID-19 Vaccine Misinformation, 331 J. Am. Med. Ass’n 1670 (2024)); id. Ex. 6 (Mary Whitfill
       Roeloffs, X’s Community Notes Accurately Corrected Vaccine Misinformation 97% Of The Time Last Year, Study
27     Says, Forbes (Apr. 24, 2024, 11:00 AM)); id. Ex. 7 (Thomas Renault et al., Collaboratively Adding Context to Social
       Media Posts Reduces the Sharing of False News (2024)); id. Ex. 8 (Yuwei Chuai et al., Community notes reduce the
28     spread of misleading posts on X (2024)); id. Ex. 9 (Chiara Patricia Drolsbach et al., Community notes increase trust in

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 1              123.     Meta has recently announced that it will employ a similar system on Facebook,

 2     Instagram, and Threads. See id. Ex. 10 (Community Notes: A New Way to Add Context to Posts,

 3     Meta Transparency Center (Feb. 20, 2025)).

 4              124.     California Assembly Member Bill Essayli testified before the Assembly Standing

 5     Committee on Elections that AB 2655’s requirements are “a very sticky thing with the First

 6     Amendment and also with asking private companies to be the enforcer,” and that he instead favored

 7     the “Twitter model where they use the community to sort of regulate information on there. . . .

 8     where it’s the public, it’s the crowd sourcing is kind of doing the moderating,” rather than

 9     “making an individual, company, or person the arbiter of [] what’s disinformation.” See

10     Kurtzberg Decl. Ex. 2 (Defending Democracy from Deepfake Deception Act of 2024: Hearing on

11     AB 2655 Before the Assemb. Standing Comm. on Elections, 2023–2024 Reg. Sess. (Cal. Apr. 10,

12     2024)) at 7–8 (statements of Bill Essayli, Assemb. Member).3

13              125.     In addition to Community Notes and user comments, X also has its own policy for

14     regulating “synthetic” or “manipulated media” on its platform. That policy differs from the system

15     set up by the government under AB 2655. See X Corp. S&O Decl. ¶ 15.

16              126.     Under X’s “Authenticity” Policy, which covers “Synthetic and Manipulated

17     Media,” users “may not share inauthentic media, including, manipulated, or out-of-context media

18     that may result in widespread confusion on public issues, impact public safety, or cause harm

19     (‘misleading media’).” Id. ¶ 16; Ex. 4 (Authenticity, X) at 9. Moreover, in “situations where [X is]

20     unable to reliably determine if [the content] is misleading media, [X] may not take action.” Id.

21     How X enforces its Authenticity Policy “depend[s] on the severity of the violation as well as any

22     previous history of violations.” Id. ¶ 16; Ex. 4 at 10.

23              127.     One such way in which X may “take action” to enforce its policy is to label posts

24     containing misleading media, to help people understand the content’s authenticity and to provide

25     additional context. For example, from August 5, 2024 to February 3, 2025, X labeled 3,700 posts

26     under its Authenticity Policy (as well as its predecessor version). Id. ¶ 16.

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       fact-checking on social media, 3 PNAS Nexus 1 (2024)).
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28       Unless otherwise indicated, emphases in quotes are added and internal citations and quotations are omitted.

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 1             128.   Under X’s Authenticity Policy—which is publicly available to all users of the

 2     platform as well as to the public generally—X considers, e.g., the following in determining whether

 3     to remove and/or label content:

 4                    a.      Whether the media is “significantly and deceptively altered, manipulated, or

 5             fabricated in a way that fundamentally changes its meaning and can result in widespread

 6             confusion on public issues, impact public safety, or cause serious harm”; and

 7                    b.      Whether the media is “shared in a deceptive manner or out-of-context or

 8             with intent to deceive people about the nature or origin of the content and can result in

 9             widespread confusion on public issues, impact public safety, or cause serious harm[.]” Id.

10             ¶ 17; Ex. 4 at 10.

11             129.   X’s Authenticity Policy also makes clear that “[s]haring manipulated or out-of-

12     context media in non-deceptive ways” is “[a]llowed” under the policy. Id. ¶ 18; Ex. 4 at 11.

13             130.   Rumble enforces a content-moderation policy and removes from its platform

14     content that violates that policy and suspends the accounts of users who repeatedly post content

15     that violates its policy. Rumble Decl. ¶ 15.

16             131.   Rumble manages its video-sharing service through its terms and conditions, which

17     contain its content-moderation policy. Id. ¶ 16.

18             132.   To create an account, a user must agree to abide by the terms and conditions. Id.

19     ¶ 17.

20             133.   Under the terms and conditions, Rumble retains “the absolute right (but not the

21     obligation) to prohibit, refuse, delete, move and edit Content and material for any reason, in any

22     manner, at any time, without notice” to the content creator. Id. ¶ 18.

23             134.   The terms and conditions prohibit the following, among other categories:

24                    a.      “Content or material that is pornographic, obscene, or of an adult or sexual

25             nature”;

26                    b.      “Content or material that is grossly offensive to the online community,

27             including but not limited to, racism, anti-semitism and hatred”;

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 1                    c.      Content or material that “[p]romotes, supports, or incites violence or

 2             unlawful acts”;

 3                    d.      “Content or material that exploits children under the age of 18 or posts or

 4             discloses any personally identifying information about any person at any age, including but

 5             not limited to personally identifying information about children under the age of 18”; and

 6                    e.      “Any other Content or material that Rumble in its sole, unfettered, and

 7             arbitrary discretion, determines is undesirable on the Rumble Service.”

 8     Id. ¶ 19.

 9             135.   Rumble does not restrict political speech as such, no matter what the topic or

10     viewpoint, unless it violates a specific provision of its terms and conditions. Id. ¶ 20.

11             136.   Rumble does not restrict digitally generated or modified content as such unless that

12     content violates a specific provision of Rumble’s terms and conditions. Id. ¶ 21.

13             137.   Rumble enforces its terms and conditions through a complaint mechanism and

14     through manual and technical review of content by independent contractors. Id. ¶ 22.

15             138.   Rumble relies on manual content moderators. Id. ¶ 23.

16             139.   Rumble’s content moderators use their best efforts to enforce Rumble’s terms and

17     conditions across the platform. Id. ¶ 24.

18             140.   Content moderators enforce Rumble’s content moderation policy by watching

19     uploaded videos and reviewing comments posted on videos and comparing the content to Rumble’s

20     terms and conditions. Id. ¶ 25.

21             141.   Rumble does not label content because it does not want to express a viewpoint about

22     the content on its platform. Id. ¶ 26.

23             142.   Any person may email moderation@rumble.com to report content that violates

24     Rumble’s terms and conditions. Id. ¶ 27.

25             143.   Rumble reviews every report that it receives, but it does not always respond to those

26     reports. A person on Rumble’s content-moderation team will review the reported content to see if

27     it violates Rumble’s terms and conditions. Id. ¶ 28.

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 1             144.    Rumble makes all content-removal decisions after review by someone on Rumble’s

 2     content-moderation team. If the content violates the terms and conditions, the moderator will

 3     remove the content. Id. ¶ 29.

 4             145.    Rumble believes it can best express its free speech message by placing guardrails,

 5     expressed in its content-moderation policy, to encourage what it believes to be civil discussion. Id.

 6     ¶ 30.

 7             146.    To remain consistent with its content-moderation policy and preserve its own free

 8     speech, Rumble intends to still make content subject to AB 2655 available outside of California.

 9     Currently, users of Rumble, no matter in what state or country, all see the same content. But, should

10     it have to comply with AB 2655, Rumble could geo-block certain content from appearing in

11     California, while allowing users outside of California to view that content. Implementing that

12     bifurcated program would place significant additional costs on Rumble and harm Rumble’s public

13     reputation with creators, advertisers, and users as a platform that works to preserve a free and open

14     internet. Id. ¶ 55.

15             147.    Other covered platforms—e.g., Meta, YouTube, TikTok, Snapchat, and Google

16     Search—have their own policies designed to address false, misleading, and/or manipulated media:

17                     a.      See X Corp. S&O Decl. Ex. 13 (How to identify AI content on Meta products,

18             Meta) at 2 (“Meta requires an AI label when content has photorealistic video or realistic-

19             sounding audio that was digitally created, modified or altered, including with AI.”);

20                     b.      See id. Ex. 14 (Disclosing use of altered or synthetic content, YouTube) at 1

21             (“To help keep viewers informed about the content they’re viewing, we require creators to

22             disclose content that is meaningfully altered or synthetically generated when it seems

23             realistic.”);

24                     c.      See id. Ex. 15 (About AI-generated content, TikTok) at 5 (“We also require

25             creators to label all AI-generated content where it contains realistic images, audio, and

26             video, as explained in our Community Guidelines.”);

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 1                     d.     See id. Ex. 16 (Generative AI on Snapchat, Snapchat) at 1 (“We may indicate

 2             that a feature in Snapchat is powered by generative AI in a number of ways . . . When you

 3             see these contextual symbols or other indicators in Snapchat, you should know that you are

 4             . . . viewing content that has been produced using AI and does not depict real world

 5             scenarios.”); and

 6                     e.     See id. Ex. 17 (Google Search’s guidance about AI-generated content,

 7             Google Search) at 2 (“Using automation—including AI—to generate content with the

 8             primary purpose of manipulating ranking in search results is a violation of our spam

 9             policies.”).

10        VII.     California accelerates passage of AB 2839 to confront conservative political

11                 commentary.

12             148.    The California legislature began considering AB 2839 in February 2024. Kurtzberg

13     Decl. Ex. 24 (Record of legislative action on Assembly Bill No. 2839, California Legislative

14     Information).

15             149.    The bill had been proceeding through the regular legislative process. Kohls V.

16     Compl ¶ 77.

17             150.    On July 26, 2024, Kohls posted the Harris Parody Video. That same day, Elon Musk

18     reposted the Harris Parody Video on X, where it gained over 100 million views. Id. ¶¶ 5, 8;

19     Kurtzberg Decl. Ex. 12 (Elon Musk (@elonmusk), X (July 26, 2024, 7:11 PM)).

20             151.    Two days later, Governor Newsom posted a screenshot of a news story discussing

21     Musk’s retweet of the Harris Parody Video, asserting that the video “should be illegal” and

22     promising to sign “a bill in a matter of weeks to make sure it is.” Kohls V. Compl. ¶ 9; Kurtzberg

23     Decl. Ex. 13 (Gavin Newsom (@GavinNewsom), X (July 28, 2024, 11:47 PM; Sept. 17, 2024, 7:41

24     PM)).

25             152.    After Governor Newsom’s X post, the California legislature accelerated steps to

26     ensure that AB 2839 would pass during its current legislative session. Kohls V. Compl. ¶¶ 77–78.

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 1             153.    The California legislature passed AB 2839 in August, only about one month after

 2     Governor Newsom’s promise to make parody videos like the Harris Parody Video “illegal.”

 3     Kurtzberg Decl. Ex. 24.

 4             154.    Governor Newsom signed AB 2839 on September 17, 2024. It became effective

 5     immediately. Id.

 6             155.    On that same day, Governor Newsom made another X post declaring that he had

 7     “just signed a bill to make this illegal in the state of California,” in which “this” refers to the Harris

 8     Parody Video. The X post continued: “You can no longer knowingly distribute an ad or other

 9     election communications that contain materially deceptive content -- including deepfakes.”

10     Kurtzberg Decl. Ex. 13.

11       VIII.     AB 2839’s Legislative History.

12             156.    Throughout the legislative process, California legislators made statements about AB

13     2839’s impact and burden on speech. Kurtzberg Decl. Exs. 21–23, 27.

14             157.    For example, in April 2024, the Assembly Committee on Judiciary reaffirmed that

15     the bill covered “the right to speak about elections,” “the right to receive information regarding

16     them,” and “political speech” and would be subject to “strict scrutiny.” Kurtzberg Decl. Ex. 21

17     (Assembly Committee on the Judiciary’s Analysis of Assembly Bill No. 2839, 2023–2024 Reg.

18     Sess. (Cal. Apr. 26, 2024)) at 8. The Committee recognized that “[t]he use of questionable tactics

19     to win an election are as old as America’s democracy.” It also thought that “[u]nfortunately,

20     without traditional media outlets serving as gatekeepers of information, the amount of blatantly

21     false or misleading election-related content appearing on the internet is growing significantly.” Id.

22     at 6. The Committee acknowledged that the bill “implicates both the right to speak about elections,

23     as well as the right to receive information regarding them”; implicates “political speech” subjecting

24     it to “the most exacting legal review”; and acts “as a prior restriction on speech … subject to strict

25     scrutiny.” Id. at 8.

26             158.    The Committee moved the bill forward even though it could not “ignore the

27     longstanding preference of the courts to protect all forms of speech” or how “the current Supreme

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 1     Court has demonstrated a willingness to greatly expand the scope of speech rights, especially when

 2     the speaker’s views align with the court’s majority.” Id. at 9.

 3            159.    In the end, the Committee concluded that “[t]he constitutional questions posed by

 4     this bill present an exceedingly difficult decision.” And, the Committee said, “while this bill is

 5     certainly designed to provide the greatest chance of withstanding constitutional review, it is almost

 6     guaranteed to be the subject of litigation.” Id.

 7            160.    The Committee anticipated that the bill “will almost certainly be the target of

 8     immediate litigation.” Id.

 9            161.    Then, in June 2024, the Senate Judiciary Committee published a report noting that

10     AB 2839 “prohibits certain forms of speech” and “implicates the protections of the First

11     Amendment.” Kurtzberg Decl. Ex. 22 (Senate Judiciary Committee’s Analysis of Assembly Bill

12     2839, 2023–2024 Reg. Sess. (Cal. June 28, 2024)) at 10. The Committee wrote that “this bill may

13     face legal challenge” as “most restrictions on political speech” had. But the Committee thought

14     the bill was “arguably narrowly tailored.” Id. at 13.

15            162.    In August—after Governor Newsom’s tweet condemning the Harris Parody

16     Video—the full Senate amended the bill. Id. Ex. 24.

17            163.    Consistent with Governor Newsom’s post on X, the Senate’s amendment struck

18     language that had previously stated: “This section does not apply to materially deceptive content

19     that constitutes satire or parody.” Id. Ex. 23 (Senate’s August 2024 amendment to Assembly Bill

20     No. 2839, California Legislative Information).

21            164.    AB 2839 passed the California legislature with a declaration of urgency via two

22     supermajority votes, and AB 2839 took effect immediately upon the Governor’s signature. Kohls

23     V. Compl ¶¶ 83–84.

24         IX.    AB 2655’s Legislative History.

25            165.    The California legislature also began considering AB 2655 in early 2024. See, e.g.,

26     Kurtzberg Decl. Ex. 6 (Assemb. Standing Comm. on Elections, Analysis of Assemb. Bill No. 2655,

27     2023–2024 Reg. Sess. (Cal. Apr. 8, 2024)).

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 1            166.    The Assembly Committee on Judiciary’s April 22, 2024 analysis states that:

 2            [AB 2655] would interfere with both the expression and reception of information
              based upon its content. . . . not only does this bill single out particular content,
 3            the content relates to political candidates and elections,” to which “the First
 4            Amendment affords the ‘broadest protection’ . . . The fact that the bill restricts
              speech that is ‘materially deceptive’ or ‘false’ does not matter . . . The remedy for
 5            false speech is more true speech, and false speech tends to call forth true speech.

 6     Kurtzberg Decl. Ex. 3 (Assemb. Standing Comm. on Judiciary, Analysis of Assemb. Bill No. 2655,

 7     2023–2024 Reg. Sess. (Cal. Apr. 22, 2024)) at 7.

 8            167.    The Senate Judiciary Committee’s June 28, 2024 analysis states that “[l]aws that

 9     burden political speech are subject to strict scrutiny . . . California courts have been clear that

10     political expression in the context of campaigns of any manner should be given wide latitude[.]”

11     Id. Ex. 4 (S. Comm. on Judiciary, Analysis of Assemb. Bill No. 2655, 2023–2024 Reg. Sess. (Cal.

12     June 28, 2024)) at 14.

13            168.    The Assembly Committee on Judiciary’s April 22, 2024 analysis states that “[i]n

14     reviewing [AB 2655], the Court would apply strict scrutiny.” Id. Ex. 3 at 8.

15            169.    On April 23, 2024, during a hearing in which AB 2655 was discussed, California

16     State Assembly member Rebecca Bauer-Kahan, who supported AB 2655, stated, “I think we all

17     agree that strict scrutiny would be applied.” Id. Ex. 5 (Defending Democracy from Deepfake

18     Deception Act of 2024: Hearing on AB 2655 Before the Assemb. Standing Comm. on Judiciary,

19     2023–2024 Reg. Sess. (Cal. Apr. 23, 2024)) at 6 (statements of Rebecca Bauer-Kahan, Assemb.

20     Member).

21            170.    The June 28, 2024 Senate Committee of the Judiciary Analysis of AB 2655 contains

22     the following statement from The American Civil Liberties Union, which opposed AB 2655:

23            The “‘novelty of deepfake technology and the speed with which it is improving’
              do not justify relaxing the stringent protections afforded to political speech by the
24            First Amendment. . . . The Supreme Court has held that “whatever the challenges
              of applying the Constitution to ever advancing technology, ‘the basic principles of
25
              freedom of speech and the press, like the First Amendment’s command, do not
26            vary’ when a new and different medium for communication appears.” . . .
              Unfortunately, the provisions of AB 2655 as currently drafted threaten to intrude
27            on those rights and deter that vital speech.”
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 1     Id. Ex. 4 at 18–19.

 2             171.    The Senate Judiciary Committee also acknowledged that AB 2655 would “likely”

 3     face a preemption challenge under Section 230. Id. at 13. It stated that AB 2655 “provides for the

 4     potential liability of platforms for failing to block and prevent certain content from being posted or

 5     shared by users” even though Section 230 “immunize[s] internet platforms from virtually all suits

 6     arising from third-party content.” Id.

 7             172.    The California legislature passed AB 2655 with supermajorities in both chambers.

 8     Id. at 25.

 9          X.      AB 2655’s Burdens and Impact.

10             173.    Rumble has no technical tools to determine whether something is digitally created

11     or modified. It will often be difficult for a content moderator on Rumble’s team to determine

12     whether some content was digitally altered or modified. Without technical tools, making that

13     determination requires a host of reliable contextual information, including what issues are involved

14     in an election campaign, what positions a candidate has taken, who the candidate’s opposition is,

15     and what statements a candidate has made. That requires Rumble’s content moderation team to

16     consult outside sources for that contextual information. Rumble Decl. ¶ 42.

17             174.    X does not have, nor is aware of, any tool that could make the determinations

18     required to assess whether particular content is subject to the requirements of AB 2655. X Corp.

19     S&O Decl. ¶ 11.

20             175.    To determine whether AB 2655’s requirements apply to particular content, covered

21     platforms must determine whether content portrays candidates for elective office, elections

22     officials, and elected officials “doing or saying something” that they “did not do or say.” See

23     §§ 20513(a)(2), 20514(a)(2)(A).

24             176.    For the 2026 election cycle, there will be at least 866 people qualifying as

25     “candidate[s]” under Section 20512(c). There will be at least two candidates for each the offices

26     of governor, lieutenant governor, attorney general, secretary of state, treasurer, controller, insurance

27     commissioner, and superintendent of public instruction (at least sixteen total); eight candidates for

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 1     the Board of Equalization; 104 candidates for the federal House of Representatives; 40 candidates

 2     for state senate; 160 candidates for state assembly; 57 county clerks; and 482 city clerks. X Corp.

 3     S&O Decl. ¶ 7 n.2.

 4                177.     While AB 2655 does not define the term “elected official,” even if the term only

 5     applied to elected officials in California, it would cover at least 120 individuals, and has the

 6     potential to cover many more, given that California has 57 counties and 482 cities, each presumably

 7     with elected officials. Id. Ex. 1 (Elected Officials, California State Assembly) (“The California

 8     State Assembly has 80 Members” and the “California State Senate has 40 members[.]”); id. Ex. 2

 9     (Cities in California, BallotPedia) (there are 57 counties and 482 cities, towns, and villages in

10     California, according to a 2022 study from the U.S. Census Bureau). If the term applies to all

11     officials in the United States, there could be several hundreds of thousands of “elected officials,”

12     or even more.

13                178.     Rumble’s content-moderation team will have to research and find reliable

14     information about the candidates involved in local races, the identities of local government officials

15     conducting elections, and statements that any of those people have made. Rumble Decl. ¶ 43. The

16     same is true of X’s content-moderation team. See X Corp. S&O Decl. ¶ 7.

17                179.     Recognizing this difficulty, the April 8, 2024 analysis of the Assembly Committee

18     on Elections states that:

19                [I]n order to determine whether it must block content that portrays a candidate for
                  election as doing or saying something that the candidate did not do or say,4 the
20                platform would need to know not only that the person portrayed in the content was
                  a candidate for office, but also the date (or dates) of the election when the candidate
21                will appear on the ballot. Similarly, it would need to determine whether the
                  candidate had actually said or done the thing that the candidate is portrayed as
22
                  doing. While some of that information will be widely available and well known in
23                some cases (e.g., the identity of major party candidates for President of the United
                  States in presidential general elections and the dates of federal elections), it will be
24                more arcane in other situations. Given the number of elections (including
                  standalone local and special elections) and candidates (including write-in
25                candidates and candidates for local elections in smaller jurisdictions) in
                  California at any given time, making the determinations at scale about which
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28         Emphasis in original.

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 1            content must be blocked or labeled likely will be considerably more challenging
              than making those determinations on a case-by-case basis in a court of law.
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 3     Kurtzberg Decl. Ex. 6 (Assemb. Standing Comm. on Elections, Analysis of Assemb. Bill No. 2655,

 4     2023–2024 Reg. Sess. (Cal. Apr. 8, 2024)) at 8.

 5            180.    Similarly, on April 10, 2024, Tracy Rosenberg of Oakland Privacy, which opposed

 6     AB 2655, testified before the Assembly Standing Committee on Elections that “technology

 7     platform[s] can[not] be expected to know everything that every candidate running for office [has

 8     said].” Id. Ex. 2 at 6 (statements of Tracy Rosenberg, Oakland Privacy).

 9            181.    To comply with AB 2655, covered platforms, like X and Rumble, must make a two-

10     step judgment call about whether the content “would falsely appear to a reasonable person to be an

11     authentic record” and, if so, whether it “is reasonably likely to”: “harm the reputation or electoral

12     prospects of a candidate” or “falsely undermine confidence in the outcome” of an election.

13                    a.         Covered platforms must determine whether a reasonable person would view

14            the content to be false, without knowing the information that the hypothetical reasonable

15            person has available to him, especially for local government officials and state legislator

16            elections.

17                    b.         Covered online platforms must decide whether that content is “reasonably

18            likely” to harm the candidate’s reputation or electoral prospects or undermine confidence

19            in the election.

20     Rumble Decl. ¶¶ 44; X Corp. S&O Decl. ¶¶ 6–9.

21            182.    AB 2655 also requires large online platforms to make judgment calls about what

22     qualifies as satire or parody. Even assuming large online platforms can accurately determine what

23     is digitally modified, false, and reasonably likely to cause some injury, they then must determine

24     whether the content is satire or parody. But reasonable people can disagree on what constitutes

25     satire or parody. In making those judgment calls, large online platforms will have to speculate as

26     to how the California officials who enforce the law view the content in question and account for

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 1     their subjective interpretation of AB 2655’s terms. Rumble Decl. ¶ 45; X Corp. S&O Decl. ¶¶ 6,

 2     19.

 3            183.    AB 2655 requires X, Rumble, and the other covered platforms to make these

 4     decisions within the timeframes set forth under AB 2655—that is, to remove content covered by

 5     the statute “within 36 hours, describing any action taken or not taken with respect to the incident,”

 6     § 20515(a), and to remove any such content “no later than 72 hours after a report is made,”

 7     § 20513(b). See X Corp. S&O Decl. ¶¶ 6–9; Rumble Decl. ¶ 46.

 8            184.    There are roughly 170 billion posts per year on X. X Corp S&O Decl. ¶ 14. From

 9     November 5–6, 2024, there were 942 million posts on X globally, which was an all-time global

10     daily record. See id. Ex. 3 (Global Government Affairs (@GlobalAffairs), X (Nov. 14, 2024, 9:57

11     AM)). In addition, in the first six months of 2024, when elections were occurring in the EU and

12     India, X received 224,129,805 user reports related to content on the platform. Id. ¶ 14.

13            185.    Similarly, Rumble currently hosts millions of hours of publicly available video.

14     Rumble Decl. ¶ 13. In the second quarter of 2024, users uploaded an average over 12,000 hours of

15     content to Rumble every day. A significant portion of that content relates to politics. Id. ¶ 14.

16            186.    Rumble will have to hire more employees or contractors to review and respond to

17     the complaints within the timeframes mandated by AB 2655. Id. ¶ 48; X Corp. S&O Decl. ¶ 11.

18            187.    Rumble will have to train its content moderation team to research for the contextual

19     information required to assess whether AB 2655 applies to particular content, which will require

20     time and corporate resources. Rumble Decl. ¶ 49; X Corp. S&O Decl. ¶ 11.

21            188.    Neither X nor Rumble is aware of any available technical tools that can effectively

22     detect the content targeted by AB 2655. Rumble Decl. ¶ 50; S&O Decl. ¶ 11.

23            189.    To reduce its reliance on external entities, Rumble has a practice of avoiding use of

24     third-party tools when possible. But for Rumble to attempt to develop technical tools that are

25     capable of making the complex determinations required of AB 2655, assuming that is even

26     technically feasible, would require a large expenditure of finance and manpower. Id. ¶ 54.

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 1         XI.      AB 2839 and AB 2655 burden the speech of content creators, such as The Bee,

 2                  Rickert, and Kohls.

 3               190.   If The Bee, Rickert, and Kohls desire to publish or republish satire or parody on

 4     their own websites or on their online accounts without violating AB 2839, the law requires them to

 5     label the content (“This ____ has been manipulated for purposes of satire or parody”) in a size that

 6     complies with AB 2839. Dillon Decl. ¶ 89; Rickert Decl. ¶ 48; Kohls V. Compl. ¶ 98.

 7               191.   Neither The Bee, Rickert, nor Kohls are willing to post satire or parody with this

 8     label because they do not want this disclaimer to alter their messages and because AB 2839’s size

 9     requirements ruin the communicative impact of satire or parody by drowning out the author’s

10     message. Dillon Decl. ¶¶ 90–92; Rickert Decl. ¶¶ 49–51; Kohls V. Compl. ¶ 98.

11               192.   For example, AB 2839 requires The Bee to alter its headlines and video identified

12     above by stamping the following disclaimer on its content. Dillon Decl. ¶ 93.

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 1            193.    AB 2839 requires Rickert to alter the Harris Parody Video by posting a disclaimer

 2     like the below throughout the video, shown next to a still from the video. Rickert Decl. ¶ 52.

 3            194.    AB 2839 requires Kohls to alter his Harris Parody Video by posting a disclaimer

 4     like the below throughout the video. Kohls V. Compl. ¶ 98.

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              195.    The Bee has continued to post satirical and parodical content without the disclaimer,
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       because The Bee is unwilling to include the disclaimer and is unwilling to chill its own speech.
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       Dillon Decl. ¶¶ 43–44, 92, 98.
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              196.    Kohls has continued to post satirical and parodical content without the disclaimer,
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       because Kohls is unwilling to include the disclaimer and is unwilling to chill his speech. Kohls
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       Decl. ¶ 15; Kohls V. Compl. ¶ 152.
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 1              197.   The Bee posts content on Rumble, X, Instagram, Facebook, and YouTube. Dillon

 2     Decl. ¶ 95. Rickert posts content on X, Facebook, and Instagram. Rickert Decl. ¶ 56. Kohls posts

 3     content on Rumble, X, and YouTube. Kohls Decl. ¶¶ 6–7, 10, 12. All of these platforms qualify

 4     as covered platforms under AB 2655. See § 20512(h); Dillon Decl. ¶ 95.

 5              198.   AB 2655 requires covered platforms to remove or label The Bee, Rickert, and

 6     Kohls’s posts that are materially similar to the content they have previously posted, as identified in

 7     paragraphs 26, 58, and 81, above. Such content would include digitally created or modified content

 8     about politicians, presidential and vice presidential candidates for office who appear on the ballot

 9     in California, other candidates who appear on the ballot in California, elected officials saying or

10     doing something in connection with an election in California, and ballots, voting machines, and

11     voting sites related to an election in California. Dillon Decl. ¶ 96; Rickert Decl. ¶ 57.

12              199.   AB 2839 threatens punishment for The Bee, Rickert, and Kohls for continuing to

13     post the content discussed above and for making similar future content because Rumble, X,

14     YouTube, Instagram, and Facebook could deplatform them for this conduct as a breach of their

15     terms of service. Dillon Decl. ¶¶ 99–105; Rickert Decl. ¶¶ 61–64; Kohls V. Compl. ¶¶ 102–05.

16              200.   To post on X, The Bee, Rickert, and Kohls must abide X’s terms of service, which

17     make them “responsible for … any Content [they] provide[ ], including compliance with applicable

18     laws, rules, and regulations.” AB 2839 is such a law. Violating that term of service subjects The

19     Bee, Rickert, and Kohls to potential account suspensions or bans from X. Dillon Decl. ¶ 102;

20     Rickert Decl. ¶ 62; Kohls V. Compl. ¶ 105.

21              201.   To post on Rumble, The Bee agreed to comply with Rumble’s terms of service,

22     which include compliance “with all applicable laws.” AB 2839 is such a law. Violating that term

23     of service subjects The Bee to potential account suspensions or bans from Rumble. Dillon Decl.

24     ¶ 101.

25              202.   YouTube makes “access and use [of] the Service” contingent on “comply[ing] with

26     … applicable law.” AB 2839 is an applicable law. Violating that term of service subjects The Bee

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 1     and Kohls to potential account suspensions or bans from YouTube. Dillon Decl. ¶ 103; Kohls V.

 2     Compl. ¶ 104.

 3            203.     Instagram’s terms of use require users to agree not to “do anything unlawful.”

 4     Violating AB 2839 thus subjects The Bee and Rickert to potential account suspensions or bans

 5     from Instagram. Dillon Decl. ¶ 104; Rickert Decl. ¶ 63.

 6            204.     Facebook’s terms of service require users to agree not to “do or share anything …

 7     [t]hat is unlawful.” Violating AB 2839 thus subjects The Bee and Rickert to potential account

 8     suspensions or bans from Facebook. Dillon Decl. ¶ 105; Rickert Decl. ¶ 64.

 9            205.     The Bee and Kohls receive payment for their content on X, Rumble, and YouTube.

10     Suspensions or removal of their accounts would cause them financial harm. Dillon Decl. ¶¶ 106–

11     07; Kohls Decl. ¶¶ 6, 20; Kohls V. Compl. ¶ 106.

12            206.     As discussed above, the State Bar of California investigated Rickert after several

13     TikTok users commented about how to file complaints about her content. The bar investigation

14     caused her to rarely post on TikTok. AB 2655 has a similar reporting mechanism that could lead

15     to large online platforms suspending or banning her accounts. Anyone can report any content, even

16     if it doesn’t violate AB 2655. That reporting mechanism will thus cause her to avoid posting

17     political content, even if not covered under AB 2655, on large online platforms. Rickert Decl. ¶

18     66.

19            207.     The Bee, Rickert, and Kohls also desire to view other creators’ content that would

20     be available absent AB 2839 and AB 2655. Dillon Decl. ¶ 108; Rickert Decl. ¶ 67; Kohls V.

21     Compl. ¶ 107.

22            208.     The Bee and Kohls also desire to have others reshare their posts and content, which

23     AB 2839 and AB 2655 may deter others from doing. Kohls Decl. ¶¶ 20–21; Dillon Decl. ¶¶ 27–

24     28, 107.

25            209.     AB 2839 and AB 2655 may also apply to other content, including:

26                     a.     A digitally created video posted by the Republican National Committee

27            that contains “12 Minutes of Democrats Denying Election Results,” featuring elected

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 1            officials denying the legitimacy of 2016 election results because of alleged Russian

 2            disinformation. Kurtzberg Decl. Ex. 25 (Republican National Committee video, GOP, 12

 3            Minutes of Democrats Denying Election Results (June 23, 2022)).

 4                     b.        The below digitally created image of Taylor Swift endorsing Donald

 5            Trump.

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16        XII.    Content Potentially Subject to AB 2655.

17            210.     On April 25, 2023, the official Republican National Committee YouTube channel

18     posted a video titled “Beat Biden” that, using artificial intelligence, imagined various scenarios that

19     would occur during a second presidential term under Joe Biden, including that “international

20     tensions [will] escalate,” “financial systems [will] crumble,” and “crime [will] worsen[].”

21     Kurtzberg Decl. Ex. 7 (GOP, Beat Biden, YouTube (Apr. 25, 2023)). As shown below, the video’s

22     description states that it is “[a]n AI-generated look into the country’s possible future if Joe Biden

23     is re-elected in 2024.”

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13            211.    This video was cited in the Senate Committee of the Judiciary’s Analysis of

14     Assembly Bill No. 2655 as an example of how “generative AI can spread misinformation regarding

15     elections with ease.” See Kurtzberg Decl. Ex. 4 at 7, 9.

16            212.    In March 2023, an X user named Eliot Higgins (@EliotHiggins) used artificial

17     intelligence to create the below photo depicting Donald Trump being forcefully arrested. Kurtzberg

18     Decl. Ex. 8 (Eliot Higgins (@EliotHiggins), X (Mar. 20, 2023, 5:22 PM)).

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14              213.   Because of AB 2655, Rickert refrained from posting certain of these images on her
15     X, Facebook, and Instagram accounts. Rickert Decl. ¶ 30.
16              214.   On August 29, 2024, the X user Kamala HQ (@KamalaHQ) posted a five-second
17     video on X where Vice Presidential candidate JD Vance says, “Democrats want to attack
18     Republicans as being anti-union and sometimes the shoe fits.” Kurtzberg Decl. Ex. 9 (Kamala HQ
19     (@KamalaHQ), X (Aug. 29, 2024, 12:57 PM)). The clip cuts out right before Vance says “but not
20     me, and not Donald Trump.” See the full video at Kurtzberg Decl. Ex. 10 (The International
21     Association of Fire Fighters, 57th IAFF Convention: Sen. JD Vance, YouTube (Aug. 29, 2024)).
22              215.   AB 2655 may require large online platforms to remove or label the content posted
23     by Kohls, The Bee, and Rickert, identified above in paragraphs 193–94, including the Harris Parody
24     Video.
25              216.   The Assembly Committee on Judiciary’s April 22, 2024 analysis states that,
26     “[c]onfronted with such a restricted timeline and the threat of a civil action . . . platforms will
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 1     ‘remove significantly more content, including content that has accurate election information

 2     and content that is not materially deceptive.’” Kurtzberg Decl. Ex. 3 at 12.

 3            217.    The Assembly Committee on Judiciary’s April 22, 2024 analysis also states that

 4     “with no sure means to determine what is ‘materially deceptive,’ the platforms will err on the

 5     side of blocking content, thus burdening more speech than is necessary.” Id. at 8.

 6            218.    On April 23, 2024, Jose Torres Casillas of TechNet, which opposed AB 2655,

 7     testified before the Assembly Standing Committee on the Judiciary that AB 2655:

 8            requires online platforms to make determinations about truth and falsity in an
              impossible way. . . . A platform cannot accurately adjudicate reports on those types
 9            of content and will instead resort to over removing information in order to avoid
              liability and the penalties in this bill. Removing information that is only suspected
10            of being false is clearly not a good outcome.
11     Kurtzberg Decl. Ex. 5 at 5 (statements of Jose Torres Casillas, TechNet).
12            219.    On April 23, 2024, Khara Boender of the Computer Communications Industry
13     Association (“CCIA”), which also opposed AB 2655, testified before the Assembly Standing
14     Committee on the Judiciary that the content-moderation “tools that are currently available [to
15     covered platforms] are not always reliable or accurate,” and covered platforms will:
16            inadvertently over block or over label content. This could result in user frustration
              and suppression of political speech. . . . Faced with individual users seeking
17            injunctive relief merely if they disagree with a covered platform's decision
              regarding reported content, a service may choose to prohibit all digitally altered
18
              content, cutting off many valuable and helpful uses.
19     Id. at 4–5 (statements of Khara Boender, CCIA).
20            220.    Boender further testified that AB 2655 will have an effect similar to that of the
21     takedown regime under the Digital Millennium Copyright Act (DMCA), because AB 2655 will
22     “result in platforms being required to block content almost constantly in order to ensure
23     compliance,” which has been the outcome under the DMCA, where platforms “err in taking down
24     the content lest they face[] liability.” Kurtzberg Decl. Ex. 14 (Defending Democracy from
25     Deepfake Deception Act of 2024: Hearing on AB 2655 Before the S. Standing Comm. on Elections
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 1     and Constitutional Amends., 2023–2024 Reg. Sess. (Cal. June 18, 2024)) at 5 (statements of Khara

 2     Boender, CCIA).5

 3              221.     Rumble currently curates and hosts content on its platform that would trigger AB

 4     2655’s requirements. Rumble Decl. ¶ 31.

 5              222.     Rumble hosts a wide variety of political speech. Some of its most viewed content

 6     creators are political commentators, including Dan Bongino, Dinesh D’Souza, Ben Shapiro, Charlie

 7     Kirk, Russell Brand, and Candace Owens. It also hosts and curates content created by politicians,

 8     including Donald Trump, Robert F. Kennedy Jr., and California politicians such as former Speaker

 9     of the House Kevin McCarthy. And it hosts and curates content posted by The Babylon Bee, an

10     online platform dedicated to satire, and Christopher Kohls. Id. ¶ 32.

11              223.     Rumble users have historically and continue to frequently upload content depicting

12     candidates for elective office and elected officials. Id. ¶ 33.

13              224.     Some of that content includes digitally altered images and videos of candidates and

14     elected officials doing or saying something they did not do. Id. ¶ 34.

15              225.     For example:

16                       a.       On October 23, 2024, a Rumble user uploaded a digitally altered video

17              showing Vice President Harris speaking about the then upcoming election with a crowd in

18              the background shouting, “We want Trump!” Id. ¶ 35.a

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         Substantial empirical evidence supports the view that such enforcement regimes lead to takedowns of a significant
21     amount of protected material. See Kurtzberg Decl. Ex. 15 (Wendy Seltzer, Free Speech Unmoored in Copyright’s Safe
       Harbor: Chilling Effects of the DMCA on the First Amendment, 24 Harv. J.L. & Tech. 171 (2010)) (asserting that the
22     DCMA encourages internet service providers to respond to copyright complaints by removing content to ensure
       immunity from liability, leading to the censorship of protected speech); id. Ex. 16 (Jennifer M. Urban, et al., Notice
23     and Takedown in Everyday Practice (2016) at 41 (finding, based on a survey of online service providers, that “[m]ost
       [online service providers] reported acting conservatively in order to avoid liability, opting to take down content even
24     when they are uncertain about the strength of the underlying claim”); id. Ex. 17 (Jennifer M. Urban & Laura Quilter,
       Efficient Process or “Chilling Effects”? Takedown Notices Under Section 512 of the Digital Millennium Copyright
25     Act, 22 Santa Clara Comput. & High Tech. L.J. 621, 638, 687 (2006)) (finding, based on an empirical study of sample
       DMCA takedown requests, a “surprising number of questionable takedowns” and noting that “§ 512 gives [online
26     service providers] strong incentives to maintain their safe harbor and few incentives to question takedown”); id. Ex. 18
       (Alfred C. Yen, Internet Service Provider Liability for Subscriber Copyright Infringement, Enterprise Liability, and
27     the First Amendment, 88 Geo. L.J. 1833, 1888 (2000)) (arguing that the DMCA safe harbor scheme creates a First
       Amendment issue by incentivizing risk averse internet service providers to remove content even where copyright
28     infringement is unclear).

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 1                      b.     On October 15, 2024, a Rumble user uploaded an apparently digitally altered

 2            video showing Vice Presidential candidate Tim Walz saying, “I know you know this. … It

 3            was better under Donald Trump.” Id. ¶ 35.b

 4                      c.     In late September 2024, a Rumble user uploaded a digitally altered video of

 5            Presidential candidate Kamala Harris saying something in Spanish that she did not say. Id.

 6            ¶ 35.c.

 7            226.      The Babylon Bee also shares videos on Rumble that include digitally altered images

 8     and videos of candidates and elected officials doing or saying something they did not. Id. ¶ 36.

 9            227.      For example:

10                      a.     On October 25, 2024, the Bee uploaded a video containing an intentionally

11            digitally altered image of Presidential candidate Donald Trump in a Pittsburgh Steelers

12            football uniform. Below is a still screenshot of the video.

13                      b.     On September 19, 2024, the Bee uploaded a video containing a digitally

14            altered image of Presidential candidate Donald Trump fending off an attack by masked

15            figures. Below is the thumbnail for the video. Id. ¶ 37.

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               228.    Users frequently post political content materially similar to the above on Rumble
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       and will likely continue to do so. Id. ¶ 38.
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               229.    The above content does not violate Rumble’s terms and conditions. Id. ¶ 39.
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               230.    For future elections in California, Rumble will very likely curate and host content
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       materially similar to the above on its platform. Rumble will not remove this content unless it
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       violates its terms of service or it finds itself under a valid court order. Id. ¶ 40.
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